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 6   Counsel for Plaintiffs and the Class
 7
 8                 UNITED STATES DISTRICT COURT FOR THE
 9                     CENTRAL DISTRICT OF CALIFORNIA
10
11
     TESSIBLE “SKYLER” FOSTER;                 2:23-cv-07441-AB-PVC
12
     MARIE SCOTT; and KRISTA
13   BAUMBACH                                  DECLARATION OF FRANK S.
                                               HEDIN IN SUPPORT OF
14                                             UNOPPOSED MOTION FOR
15               PLAINTIFFS,                   APPROVAL OF ATTORNEYS’
     V.                                        FEES, EXPENSES, AND
16
     800-FLOWERS, INC., D/B/A 1-800-           INCENTIVE AWARDS
17   FLOWERS.COM, HARRY & DAVID,
18   PERSONALIZATION MALL,
     SHARI’S BERRIES, 1-800-
19
     BASKETS.COM, SIMPLY
20   CHOCOLATE, FRUIT
21   BOUQUETS.COM, CHERYL’S
     COOKIES, THE POPCORN
22   FACTORY, WOLFERMAN’S
23   BAKERY, AND VITAL CHOICE,
24
25               DEFENDANT.
26
27
28
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 1
               I, Frank S. Hedin, declare under penalty of perjury, pursuant to 28 U.S.C. §
 2
 3    1746 and based on my own personal knowledge, that the following statements are
 4
      true:
 5
 6             1.    I am the founding partner at Hedin LLP and counsel of record for

 7    Plaintiffs in this action. My professional background and those of the attorneys of
 8
      my firm are set out below. I submit this declaration in support of Plaintiffs’
 9
10    Unopposed Motion for Approval of Attorneys’ Fees, Expenses, and Incentive
11
      Awards filed concurrently.
12
13             2.    Prior to initiating any action against Defendant, my firm and I
14    conducted a comprehensive pre-filing investigation concerning the specific factual
15
      and legal issues underlying Plaintiffs’ claims. These extensive pre-filing efforts
16
17    included:
18
               • Researching the nature of Defendant’s business and its practices
19               with respect to the sales, presentation of autorenewal terms, and
20               autorenewal of its Celebrations Passport at various times and
                 across various sales channels and brands;
21
22             • Interviewing numerous California consumers who purchased the
23               Celebrations Passport from the Defendant during the statutory
                 period, including interviewing them about their process of
24               purchasing the Celebrations Passport, any disclosures they
25               received or agreed to during the purchase process, and any notices
                 of renewals they subsequently received;
26
27
               • Collecting and reviewing documents from numerous individuals
28               who purchased the Celebrations Passport, including documents
                                           1
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 1               spanning multiple years;

 2          • Researching and analyzing Defendant’s subscription terms,
 3            renewal procedures, and renewal notice procedures for its
              Celebrations Passport;
 4
 5          • Analyzing versions of Defendant’s websites across different
 6            devices, Privacy Policy, Terms of Service, and other public
              documents on its websites during the relevant time period,
 7            including archived versions of webpages;
 8
            • Researching the relevant law and assessing the merits of a
 9
              potential claim under California’s Automatic Renewal Law
10            (“ARL”), Cal. Bus. & Prof. Code §§ 17600, et seq., against
11            Defendant and defenses that Defendant might assert; and
12          • Researching the applicable limitation period for violations of
13            California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof.
              Code §§ 17200, et seq. and False Advertising Law (“FAL”), Cal.
14
              Bus. & Prof. Code §§ 17500, et. seq. and other potential defenses.
15
16          3.      As a result of this thorough pre-filing investigation, Class Counsel was
17
      able to develop a viable theory of liability for an ARL claim against Defendant and
18
19    prepare a thorough complaint against Defendant.
20
            4.      On April 20, 2023, my firm filed an initial complaint on behalf of
21
22    plaintiff Damon Tate, in the Superior Court of Los Angeles County styled Tate v.

23    800-Flowers, Inc, alleging Defendant violated California’s ARL in connection with
24
      its Celebrations Passport membership program. On June 1, 2023, after conducting
25
26    additional investigation and interviewing more of Defendant’s customers, my firm
27
      filed an amended complaint, adding plaintiffs Natasha Paracha, Ian Chen, Brittany
28
                                        2
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 1    Mansfield, and Alba Vargas.

 2          5.     Defendant then removed the case to the Central District of California,
 3
      causing the case to be re-captioned as 2:23-cv-04340-AB-PVC. Defendant thereafter
 4
 5    filed a motion to compel plaintiffs to arbitration and alternatively moved to dismiss
 6
      the claims of four of the five representative plaintiffs for lack of standing. (Tate, ECF
 7
 8    No. 16).
 9          6.     Our investigation continued while Defendant’s motion to compel
10
      arbitration and to dismiss filed in the Tate action was pending.
11
12          7.     The Tate plaintiffs elected to dismiss their action without prejudice on
13
      September 6, 2023. (Tate, ECF No. 22).
14
15          8.      On September 7, 2023, plaintiffs Tessible “Skyler” Foster, Anayancy
16
      Paiz, Susan Finkbeiner, and Larissa Rapadas filed the initial class action complaint
17
18    in this Action, which, like the Tate action, alleged that Defendant violated the ARL

19    in connection with its Celebrations Passport membership program. (See ECF No.
20
      1). On November 14, 2023, Defendant moved to compel Ms. Paiz and Ms. Rapadas
21
22    to arbitrate their claims, arguing that the desktop computer purchase interface Ms.
23
      Paiz and Ms. Rapadas used to buy Celebrations Passport bound them to arbitrate.
24
25    (ECF No. 14). Defendant also sought a stay of the case pending final resolution of
26    the arbitrations and, in the same motion, Defendant moved to dismiss Ms. Finkbeiner
27
      for lack of standing. (Id.)
28
                                        3
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 1          9.     On December 5, 2023, plaintiffs filed a first amended complaint. (ECF

 2    No. 20). The first amended complaint retained plaintiffs Foster, Paiz, and Rapadas
 3
      as representative plaintiffs, added plaintiffs Marie Scott and Krista Baumbach, and
 4
 5    added as representative plaintiffs Kimberly Moore Keller and Latricia Anderson
 6
      Thompson. (Id.)
 7
 8          10.    On January 18, 2024, Defendant filed a motion to compel to arbitration
 9    five of the seven representative plaintiffs—Anayancy Paiz, Larissa Rapadas,
10
      Kimberly Moore Keller, Latricia Anderson Thompson, and Marie Scott. Defendant
11
12    also sought a stay of the case pending final resolution of the arbitrations, and
13
      separately moved to dismiss Kimberly Moore Keller and Latricia Anderson
14
15    Thompson for lack of standing. (ECF No. 27). With respect to the motion to compel
16
      arbitration, Defendant renewed its argument that the desktop computer and Android
17
18    mobile platform channels Ms. Paiz, Ms. Rapadas, Ms. Moore Keller, Ms.

19    Thompson, and Ms. Scott used to purchase Celebrations Passport clearly and
20
      conspicuously presented an agreement to arbitrate. (Id.). Contemporaneously,
21
22    Defendant answered the first amended complaint as to plaintiffs Foster and
23
      Baumbach. (ECF No. 28).
24
25           11.   The Parties extensively conferred on this second motion to compel
26    arbitration. Based on the conferral, and my firm’s ongoing investigation, plaintiffs
27
      sought leave to file the operative second amended complaint, which brought a claim
28
                                        4
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 1    on behalf of representative Plaintiffs Foster, Scott, and Baumbach only, and that

 2    alleged Defendant violated California’s ARL through its telephone sales channel in
 3
      addition to its violation of the ARL vis-à-vis the sales of Celebrations Passport
 4
 5    completed via the internet. (ECF No. 35).
 6
              12.   The Court granted Plaintiffs leave to file the operative second amended
 7
 8    complaint, which Plaintiffs filed on April 12, 2024.1(ECF No. 45).
 9            13.   On May 10, 2024, Defendant filed a third motion to compel arbitration
10
      as to plaintiffs Scott and Baumbach, to stay the case pending the outcome of the
11
12    arbitration, and alternatively to dismiss Ms. Baumbach for lack of standing. (ECF
13
      No. 46).
14
15            14.   Plaintiffs served requests for production and interrogatories on May 28,
16
      2024.
17
18            15.   In response to Defendant’s Motion to Compel Arbitration as to Ms.

19    Baumbach, Plaintiffs engaged a web design expert to evaluate Defendant’s claim
20
      that the mobile flow which Ms. Baumbach used to purchase Celebrations Passport
21
22    put purchasers on inquiry notice of the site Terms and Conditions which contained
23
      an arbitration provision. Additionally, Plaintiffs sought, and obtained leave from the
24
25    Court to postpone the hearing on the Motion to Compel Arbitration to conduct
26    discovery on the issues raised in the motion, specifically on the existence of a
27
28
      1
          The SAC also removed the FAL claim and proceeded with the UCL claim only.
                                          5
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 1    recording of Ms. Scott purchasing Celebrations Passport via Defendant’s telephone

 2    order platform, Defendant’s data retention policy for recordings of phone calls which
 3
      Defendant claimed it did not have, and the online purchase flow used by Ms.
 4
 5    Baumbach to purchase Celebrations Passport.
 6
            16.    The Parties’ negotiations about the scope and conduct of discovery in
 7
 8    early-June led to the first settlement discussions in the case. By mid-June, the Parties
 9    had agreed to engage a mediator and to complete mediation by September 1, 2024.
10
      Plaintiffs at all times conditioned their participation in the mediation on receiving
11
12    information from Defendant concerning the number of customers who used the
13
      various sales channels used by the representative plaintiffs—online, mobile, and 1-
14
15    800 hotline—and the number of non-refunded autorenewals corresponding to each.
16
            17.    To facilitate the mediation, and with the aim of resolving the case in the
17
18    most efficient manner possible, the Parties stipulated to extend all deadlines

19    pertaining to the pending motion to compel arbitration by 90 days, and all other case
20
      management deadlines, including trial, by 180 days. (ECF No. 52). The Court
21
22    accepted and entered the stipulation on June 20, 2024. (ECF No. 53).
23
            18.    Defendant timely provided the required pre-mediation information, and
24
25    on July 24, 2024, the Parties attended a full-day mediation with Jill Sperber, Esq. of
26    Judicate West. Ms. Sperber was selected because of her extensive experience in
27
28
                                        6
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 1    mediating and successfully resolving complex class actions, including consumer

 2    class actions.
 3
            19.    Prior to the mediation, the Parties provided Ms. Sperber with mediation
 4
 5    position statements on a confidential basis. Plaintiffs’ statement set forth their
 6
      evaluation of the case, including their prospects for prevailing on the pending motion
 7
 8    to compel arbitration in light of consulting with their expert, their assessment of
 9    prevailing on the motion to dismiss Ms. Baumbach for lack of standing, and the high
10
      likelihood of certifying a class. Armed with the number of customers and number
11
12    of renewals, Plaintiffs were further able to make a cogent, good faith assessment of
13
      the range of potential damages which informed the settlement negotiations.
14
15          20.    The mediation concluded with the Settlement and the Parties’ execution
16
      of a binding term sheet.
17
18          21.    The resulting $1,200,000, non-reversionary Settlement secures a very

19    strong result for the estimated 112,000 California consumers who are members of
20
      the Settlement Class. Each Settlement Class Member who does not opt out will
21
22    automatically receive, without the need to file a claim form, an estimated $6.60-
23
      $6.67, which is an appropriate figure considering that the Settlement Class Members
24
25    are receiving this value over the benefits received from purchasing Celebrations
26
27
28
                                        7
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 1    Passport.2 Settlement Shares shall be paid by default to a Zelle account linked to the

 2    email address the Settlement Class Member most recently used to renew
 3
      Celebrations Passport, or, if Zelle is unavailable, via an electronic MasterCard gift
 4
 5    card sent to that same email address. On the Settlement Class Member’s election on
 6
      the Settlement Website, a Settlement Share may be paid by paper check.
 7
 8          22.    In the weeks following the mediation, the Parties negotiated and
 9    finalized the Settlement Agreement, attached as Exhibit A (which was executed on
10
      August 30, 2024), and jointly interviewed and selected a Settlement Administrator—
11
12    Kroll Settlement Administration LLC (“Kroll”). Kroll’s bid proposal provided for
13
      every aspect of the notice plan and was in line with that of similar class action
14
15    settlement administrators. The Parties also worked together to finalize the Class List.
16
      Pursuant to the Parties’ binding term sheet agreement, Defendant provided Plaintiffs
17
18    a confirmatory sworn declaration which attested to the class size, sales channel, and

19    class period information.
20
            23.    The Parties agreed to the terms of the Settlement through experienced
21
22    counsel who possessed all the information necessary to evaluate the case, determine
23
      all the contours of the class, and reach a fair and reasonable compromise after
24
25
      2
26     The per class member recovery was slightly reduced from the $6.90 to $6.99 range
      anticipated at the Preliminary Approval stage because the Settlement Administrator
27    encountered a substantially higher bounce back rate for emailed Class Notices,
28    requiring the mailing of significantly more post card notices and that will require the
      mailing of paper checks to these Settlement Class Members.
                                        8
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 1   negotiating the terms of the Settlement at arm’s length and with the assistance of a

 2   neutral mediator. My firm worked extensively with Defense Counsel and, where
 3
     needed, Kroll to finalize and memorialize the agreement into a formal class action
 4
 5   Settlement Agreement, including Class Notice documents. That process included
 6
     rounds of revisions.
 7
 8            24.   Plaintiffs and Class Counsel recognize that, despite our belief in the
 9   strength of Plaintiffs’ claims, the expense, duration, and complexity of protracted
10
     litigation would be substantial and the outcome uncertain in light of the significant
11
12   risks of non-recovery posed by continued litigation.
13
              25.   Indeed, had this litigation continued, Plaintiffs and Settlement Class
14
15   Members would have faced several significant risks of total non-recovery, on
16
     questions concerning the merits of the claims and the ability of Plaintiffs to certify a
17
18   class.

19            26.   In particular, from the outset of the case, Plaintiffs and Class Counsel
20
     recognized that the case presented a substantial risk pertaining to whether Defendant
21
22   could compel Plaintiffs to arbitration. As described above, my firm persisted in
23
     pursuing the case through multiple motions to compel, and several iterations of the
24
25   complaint, consistently refining the claims through ongoing investigation.
26            27.   Additionally, absent the Settlement, Defendant (through its highly
27
     experienced attorneys) indicated that it would have defended against Plaintiffs’
28
                                       9
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 1   claims by arguing that Defendant complied with requirements of California’s ARL

 2   or substantially complied in good faith, that Plaintiffs and the class members waived
 3
     their right to seek relief by making voluntary repeated payments, and that a class
 4
 5   could not be certified because of individualized issues such as whether class
 6
     members assented to arbitration. Defendant would have continued to mount a
 7
 8   vigorous defense at trial and beyond, including in any appeal from an adverse
 9   judgment or an order certifying a class, and that Defendant would argue—in both
10
     the trial and appellate courts—for a reduction of any class-wide damages award on
11
12   substantive due process grounds.
13
           28.    Following execution of the Settlement Agreement, our firm prepared
14
15   Plaintiffs’ Motion for Preliminary Approval.
16
           29.    The Court preliminarily approved the Settlement Agreement on
17
18   October 3, 2024 (ECF No. 58) preliminarily finding that the relief provided was

19   “fair, reasonable and adequate[.]” (Id. at 2).
20
           30.    On October 23, 2024 the Claims Administrator initiated the Notice Plan
21
22   as required by the Court’s Order by emailing the approved notice to the 112,356
23
     email addresses belonging to members of the Settlement Class.      On November 11,
24
25   2025, 25,855 post card notices were mailed to those Settlement Class Members for
26   whom the notice email could not be delivered. To date the Settlement Administrator
27
     has only received two requests for exclusion and no objections.
28
                                      10
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 1         31.        The deadline for opt-outs and objections is December 23, 2024. (ECF

 2   No. 58 at 6).
 3
                                HEDIN LLP’S EXPERIENCE
 4
 5         32.       I am the founder of the firm and a member in good standing of the
 6
     State Bar of California and the Florida Bar. I received a Bachelor of Arts from
 7
 8   University of Michigan and Juris Doctor, magna cum laude, from Syracuse
 9   University College of Law. After graduating from law school, I served for fifteen
10
     months as law clerk to the Honorable William Q. Hayes, United States District
11
12   Judge for the Southern District of California. Prior to establishing the firm, I was a
13
     partner at a litigation boutique in Miami, Florida, where I represented both plaintiffs
14
15   and defendants in consumer and data-privacy class actions, employment-related
16
     collective actions, and patent and trademark litigation, and served as head of the
17
18   firm’s class action practice.

19         33.       Hedin LLP was founded in 2018. Based in Miami, Florida, with offices
20
     in San Francisco, California, and Washington D.C., Hedin LLP focuses on consumer
21
22   and data privacy class actions and has successfully prosecuted dozens of such
23
     matters in state and federal courts as court-appointed class counsel. See e.g., Rivera
24
25   et al. v. Google, LLC, No. 2019-CH-00990 (Cir. Ct. Cook Cnty. Ill., Apr. 5, 2022)
26   (class counsel in action alleging violations of Illinois’s Biometric Information
27
     Privacy Act (“BIPA”), obtained $100 million non-reversionary class settlement);
28
                                      11
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 1   Schreiber et al. v. Mayo Foundation for Medical Education & Research, No. 22-cv-

 2   00188 (W.D. Mich.) (counsel for class of consumers alleging defendant’s sale,
 3
     rental, and disclosure of mailing containing its subscribers’ personal information in
 4
 5   violation of Michigan’s Preservation of Personal Privacy Action (“PPPA”), obtained
 6
     $52.5 million non-reversionary class settlement with automatic payments (without
 7
 8   the need to submit claim forms) to each of the approximately 67,000 class members);
 9   Edwards v. Hearst Communications, Inc., 1:15-cv-09279-AT-JLC (S.D.N.Y.)
10
     (same, $50 million non-reversionary class settlement); Kokoszki v. Playboy Enters.,
11
12   Inc., No. 19-cv-10302 (E.D. Mich.) (same, $3.8 million non-reversionary class
13
     settlement with automatic payments to all class members); Pratt et al. v. KSE
14
15   Sportsman Media, Inc., No. 21-cv-11404 (E.D. Mich.) (same, $9.5 non-reversionary
16
     class settlement with automatic payments to all class members); Kain v. The
17
18   Economist Newspaper NA, Inc., No. 21-cv-11807 (E.D. Mich.) (same, $9.5 million

19   non-reversionary class settlement with automatic payments to all class members);
20
     Strano v. Kiplinger Washington Editors, Inc., No. 21-cv-12987 (E.D. Mich.) (same,
21
22   $6.8 million non-reversionary class settlement with automatic payments to all class
23
     members); Moeller v. The Week Publications, Inc., No. 22-cv-10666 (E.D. Mich.)
24
25   (same, $5 million non-reversionary class settlement with automatic payments to all
26   class members); Olsen, et al. v. ContextLogic Inc., No. 19CH06737 (Cir. Ct. Cook
27
     Cnty. Ill., Jan 7, 2020) (class counsel in action alleging violations of the of the federal
28
                                      12
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 1   Telephone Consumer Protection Act (“TCPA”), obtained $16 million non-

 2   reversionary class settlement); Chimeno-Buzzi v. Hollister Co., No. 14-cv-23120
 3
     (S.D. Fla.) (same, $10 million non-reversionary class settlement); Farnham v.
 4
 5   Caribou Coffee Co., Inc., No. 16-cv-295 (W.D. Wisc.) (same, $8.5 million non-
 6
     reversionary class settlement); Benbow v. SmileDirectClub, Inc., No. 2020-CH-
 7
 8   07269 (Cir. Ct. Cook Cnty.) (same, $11.5 million class settlement); Donahue v.
 9   Everi Payments, Inc., et al., No. 2018-CH-15419 (Cook Cnty., Ill. Cir. Ct.) (class
10
     counsel in action alleging disclosure of consumers’ credit and debit card information
11
12   on printed transaction receipts in violation of the federal Fair and Accurate Credit
13
     Transactions Act, obtained $14 million non-reversionary class settlement); Owens,
14
15   et al. v. Bank of America, N.A., et al., No. 19-cv-20614 (S.D. Fla.) (class counsel in
16
     action alleging improper overdraft fees in violation of state law, obtained $4.95
17
18   million non-reversionary class settlement with automatic payments to all class

19   members); Liggio v. Apple Federal Credit Union, No. 18-cv-1059 (E.D. Va.) (same,
20
     $2.7 million non-reversionary class settlement); In re Maxar Technologies Inc.
21
22   Shareholder Litigation, No. 19CV357070 (Cal. Sup. Ct., Santa Clara Cnty.) (class
23
     counsel in action alleging false and misleading statements to investors in violation
24
25   of federal securities laws, obtained $36.5 million non-reversionary settlement for
26   class); Plymouth County Retirement System v. Impinj, Inc., et al., No. 650629/2019
27
     (N.Y. Sup. Ct., N.Y. Cnty.) (same, obtained $20 million non-reversionary class
28
                                      13
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 1   settlement). Over the past five years alone, the firm has recovered over $400 million

 2   in all-cash relief for the classes it has represented. Firm Resume of Hedin LLP, a
 3
     true and accurate copy of which is attached hereto as Exhibit B.
 4
 5         34.    The firm also previously served as class counsel or plaintiffs’ counsel
 6
     in securities class actions in state and federal courts throughout the country. E.g.,
 7
 8   In re Menlo Therapeutics Inc. Sec. Litig., No. 18CIV06049 (Cal. Super. Ct., San
 9   Mateo Cty.) (class settlement on behalf of IPO investors finally approved); In re
10
     EverQuote, Inc. Secs. Litig., No. 651177/2019 (N.Y. Supreme, N.Y. Cty.) (class
11
12   settlement on behalf of IPO investors finally approved); Plymouth Cty. Ret. Sys. v.
13
     Impinj, Inc., et al., No. 650629/2019 (N.Y. Super. Ct., N.Y. Cty.) (co-lead counsel
14
15   for plaintiff class of investors asserting Securities Act claims arising from initial
16
     and secondary public offerings).
17
18         35.    The firm also frequently represents indigent litigants on a pro bono

19   basis. E.g., Groover v. U.S. Corrections, LLC, et al., No. 15-cv-61902-BB (S.D.
20
     Fla.) (representing plaintiff and putative class against country’s largest private
21
22   prisoner extradition companies in Section 1983 civil rights action alleging
23
     violations of the Eighth Amendment).
24
25         36.    The following attorneys from Hedin LLP worked with me on this
26   matter:
27
28      • Arun G. Ravindran, a member in good standing of the Florida Bar and the
          New York State Bar, is an accomplished trial lawyer who has tried more than
                                      14
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 1         twenty federal cases to jury verdict. Mr. Ravindran received his Bachelor of
           Arts from Emory University, an Msc. from the London School of Economics,
 2         and his Juris Doctor from Emory University School of Law. After graduating
 3         from law school, he served as Captain and Judge Advocate in the United
           States Marine Corps, after which he served for eighteen months as a law clerk
 4
           to the Honorable Patricia A. Seitz, United States District Judge for the
 5         Southern District of Florida. Following his clerkship, Mr. Ravindran served
 6         for nearly five years as an Assistant Federal Public Defender in the Southern
           District of Florida. Prior to joining Hedin LLP, Mr. Ravindran litigated
 7         commercial matters at a prominent Florida law firm.
 8
        • Paula S. Buzzi, a member in good standing of the Florida Bar, received her
 9        Bachelor of Arts from The University of North Carolina and her Juris Doctor
10        from Syracuse University College of Law. Prior to joining Hedin LLP, Ms.
11        Buzzi was an attorney at a prominent national law firm where she represented
          commercial clients in transactional matters. At Hedin LLP, Ms. Buzzi's
12        extensive transactional experience offers clients valuable, unique perspectives
13        on case analysis, negotiation and strategy. Ms. Buzzi is a co-founder of the
          Argentinian-American Bar Association, and she has received a number of
14        honors and distinctions throughout her career as an attorney, including
15        numerous recognitions in leading legal publications.
16
        • Julie E. Holt, a member in good standing of the Florida Bar and the State Bar
17        of New York, received her Bachelor of Arts in Economics, summa cum laude,
18        from Columbia University and her Juris Doctor from Yale Law School. Prior
          to joining Hedin LLP, Ms. Holt served as an Assistant Federal Public
19        Defender in the Southern District of Florida for eight years. She is an
20        experienced trial lawyer, having tried approximately 30 jury trials and
          numerous bench trials. In addition to her trial practice, she also represented
21
          clients on direct appeal, filing numerous petitions for writ of certiorari to the
22        Supreme Court and arguing in the Eleventh Circuit Court of Appeals.
23
        • Elliot O. Jackson, a member in good standing of the Florida Bar and the New
24        York State Bar, received his Bachelor of Science, cum laude, from
25        Fayetteville State University, his Juris Doctor, cum laude, from Florida A&M
          University College of Law, and an L.L.M in fashion law from Fordham
26
          University, where he graduated first in his class and received the Judy and
27        Dennis Kenny Award. Prior to joining the firm, Mr. Jackson served for two
28        years as law clerk to the Honorable Mary S. Scriven, United States District
          Judge for the Middle District of Florida.
                                      15
          DECLARATION IN SUPPORT OF UNOPPOSED MOTION FOR APPROVAL OF
               ATTORNEYS’ FEES, EXPENSES, AND INCENTIVE AWARDS
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 1
 2         37.     Hedin LLP undertook and funded this litigation on a purely contingent
 3
     basis, with no assurance of recovering any out-of-pocket expenses or attorneys’
 4
 5   fees. As set forth in this declaration Class Counsel expended considerable time and
 6
     resources to investigate and prosecute the case successfully on behalf of the Class.
 7
 8   Counsel undertook substantial risk of non-payment, and the percentage fee request
 9   will fairly compensate Counsel for this risk.
10
           38.     The number of hours spent on this action by my firm as of the date of
11
12   this filing was 387.8 total hours. The total lodestar for time thus far is $255,297.50.
13
     The schedule below provides a summary of the hours expended by each timekeeper
14
15   from my firm who performed work on this action since its inception.
16
      Timekeeper          Title/Graduation      Rate      Hours Individual Lodestar
17
                          Year
18
      Frank S. Hedin      Managing Partner      $825      42.5     $35,062.50
19
                          (2012)
20
      Arun Ravindran      Counsel (2007)        $700      230.2    $161,140.00
21
      Paula Buzzi         Counsel (2012)        $500      80.0     $40,000.00
22
      Julie Holt          Counsel (2011)        $600      22.0     $13,200.00
23
24    Elliot Jackson      Associate (2021)      $450      13.1     $5,895.00

25    Total                                               387.8    $255,297.50

26
27         39.     The hours and lodestar incurred by my firm will increase because, as
28
     Class Counsel, my firm is responsible for working with the Settlment Administrator
                                      16
          DECLARATION IN SUPPORT OF UNOPPOSED MOTION FOR APPROVAL OF
               ATTORNEYS’ FEES, EXPENSES, AND INCENTIVE AWARDS
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 1   to ensure completion of the Notice Plan, maintaining ongoing communication with

 2   Class Members regarding their rights under the Settlement, completing the final
 3
     approval brief and supporting documents, addressing any objections to the
 4
 5   Settlement Agreement, attending the final approval hearing, and, if the Settlement is
 6
     finally approved, to ensure the Settlement Administraor makes disbursements as
 7
 8   required to the Class Members and cy pres recipient.
 9         40.    To date my firm has advanced $17,326.24 in costs as shown in the
10
     schedule below:
11
12
      Cost                                                             Amount
13    Filing and Service Fee – Damon Tate v. 800-Flowers, Inc.         $1437.25
14    (inc. Los Angeles County Superior Court – Complex
      Division Fee)
15    Filing Fee – Paiz et. al. v. 800-Flowers, Inc. (C.D. Cal.)       $402.00
16    Plaintiffs’ Share of Mediation Cost paid to Judicate West        $12,375.00
17    Federal Express (mediation brief to Mediator Jill Sperber)       $112.39
      Consulting Expert Fees                                           $3,000.00
18    Total                                                            $17,326.64
19
20
           41.    Finally, in this litigation, Plaintiffs contributed substantial effort to
21
22   advance the interests of the Settlement Class. Specifically, Plaintiffs worked with

23   Class Counsel to detail their subscription and purchase history, including how they
24
     subscribed to the Celebrations Passport and their knowledge of Celebrations
25
26   Passport’s terms and conditions, both during the prefiling investigation and at
27
     various stages throughout including in assessing Defendant’s motions to compel
28
                                      17
          DECLARATION IN SUPPORT OF UNOPPOSED MOTION FOR APPROVAL OF
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 1   arbitration and dismiss for lack of standing. Each of the Plaintiffs searched their

 2   bank records, product order histories with Defendant and its brands, and their
 3
     communications with Defendant. Moreover, Plaintiffs worked with Class Counsel
 4
 5   to prepare the complaints, carefully reviewed the complaints for accuracy, and
 6
     approved them before they were filed.
 7
 8         34.    Plaintiffs filed this case knowing it would cause their names to be
 9   associated with litigation. Plaintiffs kept in regular contact with Class Counsel,
10
     including on matters of strategy, discovery, mediation, and the prospects of
11
12   settlement and were prepared to testify at deposition and trial, if necessary.
13
           35.    I am of the opinion that Plaintiffs’ active involvement in this case was
14
15   critical to its ultimate resolution. They took their role as class representatives
16
     seriously, devoting time and effort to protecting the interests of the class. Without
17
18   their willingness to assume the risks and responsibilities of serving as class

19   representatives, I do not believe such a strong result could have been achieved.
20
           I declare under penalty of perjury that the above and foregoing is true and
21
22   accurate.
23
           Executed this 2nd day of December 2024 at Miami, Florida.
24
25                                                 /s Frank S. Hedin
26                                                     Frank S. Hedin
27                                                     HEDIN LLP
28
                                      18
          DECLARATION IN SUPPORT OF UNOPPOSED MOTION FOR APPROVAL OF
               ATTORNEYS’ FEES, EXPENSES, AND INCENTIVE AWARDS
